                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION
______________________________________________________________________________

      IN RE: JAMES ROBERT JACKSON, Jr.          CASE NO.: 3:19-bk-01746-MFH
             dba STONEWALL FARM
             1021 GOLF COURSE LANE
             CHEATHAM TN 37015
             SSN: XXXX-XX-1278
             Debtor                                              CHAPTER 7
______________________________________________________________________________

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
    COMES NOW Nationstar Mortgage LLC d/b/a Mr. Cooper, (hereinafter, “Movant”), by

and through the undersigned attorney, and for its Motion for Relief from the Automatic Stay, states

as follows:

       1.        On March 20, 2019, James Robert Jackson, Jr., dba Stonewall Farm, (hereinafter,

“Debtor”), filed a petition under Chapter 7 of the Bankruptcy Code in the Nashville Division of

the United States Bankruptcy Court for the Middle District of Tennessee.

       2.        On February 18, 2005, the Debtor(s) executed a Note and Deed of Trust securing

payment in the principal amount of $345,000.00, and delivered the same to Gordon Lending

Corporation, a Corporation.

       3.        The Note is either made payable to Movant or has been duly indorsed. Movant,

directly or through an agent, has possession of the Note. Movant is the original beneficiary or the

assignee of the Deed of Trust.

       4.        The Deed of Trust securing paying on the Note encumbers real property located

at 1181 Neptune Road, Ashland City, TN 37015, (“Property”), and more particularly described as

follows:




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Copies of the Note, Deed of Trust, and Assignment of Mortgage, are attached hereto collectively

as Composite Exhibit “A” and incorporated herein by reference.

       5.        Movant avers that Debtor is currently in default under the terms and conditions

of the Note and Deed of Trust due to the failure to make the required monthly installment payments

thereon. Specifically, as June 10, 2019, Debtor is currently due for the November 1, 2014, through

April 1, 2019 monthly payment amount of $1,932.71, and for each payment due, suspense in the

amount of ($1,032.82) for a combined total due of $103,333.52.

       6.        As of April 11, 2019, the unpaid balance of Movant’s claim was $347,564.74 and

the total secured claim amount of Movant’s claim was $456,331.27.

       7.        Per Debtor’s Statement of Intention, Debtor intends to surrender the Property.

See Doc. 1, p. 16.

       8.        The terms and conditions of the Note and Deed of Trust provide that any failure

by Debtor to make any payments when due constitutes an event of default, and that Movant would

then be able to accelerate the entire debt and make all amounts due under the contract, including

all other related costs, expenses and attorneys’ fees. The terms and conditions of said contract


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provide that Movant may then exercise certain other remedies, including recovery of its collateral.

       9.         As recited above, Debtor has wholly failed to make payments to Movant on a

regular basis, as provided for in the Note and Deed of Trust. This failure constitutes a material

default which entitles Movant to relief pursuant to 11 U.S.C. § 362(d)(1).

       10.        Further, Movant is entitled to relief from the operation of the automatic stay

pursuant to 11 U.S.C. § 362(d)(1) because Movant’s interest in the property referred to above will

not be adequately protected if the stay is allowed to remain in place.

       11.        Debtor has failed to provide Movant with adequate protection of its interest in the

property by failing to maintain the payments to Movant as required by the loan documents.

Therefore, Movant requests that this Court grant relief from the automatic stay to enable Movant

to foreclose against and liquidate the property and, if appropriate, to file an unsecured claim in this

Chapter 7 proceeding.

       12.        In the event that the proceeds of any sale conducted pursuant to the foreclosure

proceedings exceed the amount of the total secured claim amount of the Movant, Movant shall

forward said proceeds to the Trustee for disbursement to creditors.

       13.        Movant requests that Rule 4001(a)(3) of the Federal Rules of Bankruptcy

Procedure not apply in this case, thus permitting Movant to immediately enforce and implement

an Order granting relief from the automatic stay.

       14.        That Movant also claims the entitlement to fees and costs for the filing of the

instant motion.




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   WHEREFORE, Movant prays for an Order granting the Motion for Relief from the

Automatic Stay, that Movant be allowed to initiate foreclosure proceedings against the property

encumbered by the Deed of Trust, for its fees and costs incurred herein, and for such further and

other relief as this Court deems just and proper.



                                                    Respectfully submitted,

                                                    /s/ Michael Wennerlund
                                                    Michael N. Wennerlund (031332)
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                                                    d/b/a Mr. Cooper




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                                CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing Motion for Relief from the Automatic
Stay, Exhibit(s) and Proposed Order were served by CM/ECF notice and regular mail to the parties
below this 19th day of September, 2019.

       James Robert Jackson, Jr. (via US Mail)
       1021 Golf Course Lane
       Ashland City, TN 37015
       Debtor

       Lefkovitz and Lefkovitz, PLLC (via ECF)
       618 Church St. Suite 410
       Nashville, TN 37219
       Attorney for Debtor

       Erica R. Johnson (via ECF)
       8161 Highway 100
       Suite 184
       Nashville, TN 37221
       Chapter 7 Trustee

       US TRUSTEE (via ECF)
       OFFICE OF THE UNITED STATES TRUSTEE
       701 BROADWAY STE 318
       NASHVILLE, TN 37203-3966

                                                    /s/ Michael N. Wennerlund
                                                    Michael N. Wennerlund (031332)




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